                                                                                                 Electronically Filed - City of St. Louis - April 28, 2020 - 04:12 PM
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                                                                             2022-CC00848

             IN THE CIRCUIT COURT OF THE CITY OF ST. LOUIS
                   TWENTY-SECOND JUDICIAL CIRCUIT
                          STATE OF MISSOURI

KEVIE HENDRIX,                                         )
                                                       )
                       Plaintiff,                      )
                                                       )      Cause No.
vs.                                                    )
                                                       )      Division No.
LANTON AUTOMOTIVE, LLC,                                )
d/b/a MIDAS AUTO SERVICE EXPERTS,                      )
Serve:                                                 )      JURY TRIAL DEMANDED
Lance Krug, or person in charge of office,             )
Midas Auto Service Experts                             )
720 South 4th St.                                      )
St. Louis, Missouri 63107,                             )
                                                       )
                       Defendant.                      )


                              PETITION FOR DAMAGES

                                         COUNT I

       COMES NOW Plaintiff Kevie Hendrix, by and through his attorneys Tueth,

Keeney, Cooper, Mohan & Jackstadt, P.C., and for his cause of action against Defendant

Lanton Automotive, LLC, d/b/a Midas Auto Service Experts, states as follows:

       1.      Plaintiff Kevie Hendrix (hereafter “Plaintiff”) is an individual residing in

Texas. At the time of the incidents referred to herein, Plaintiff was residing in the State of

Missouri.

       2.      Defendant Lanton Automotive LLC., d/b/a Midas Auto Service Experts

(“Defendant”) is a Missouri limited liability company, which, at the time of the incident

herein, was doing business in the City of St. Louis, Missouri, located at 720 South 4th St.,

St. Louis, Missouri 63107.




                                                                                     EXHIBIT A
                                                                                              Electronically Filed - City of St. Louis - April 28, 2020 - 04:12 PM
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       3.      Venue is proper pursuant to § 508.010 RSMo. as this matter is brought in

the county where Plaintiff was first injured by the acts of Defendant.

       4.      On April 30th, 2015, Plaintiff took his vehicle, a 1998 Ford Ranger pickup

truck (the “Vehicle”), to be serviced at Defendant’s automobile repair facility located at

720 South 4th St., City of St. Louis, Missouri.

       5.      Defendant serviced the Vehicle that same day by providing certain repair

and maintenance items on the Vehicle.

       6.      After Plaintiff picked up the Vehicle from Defendant’s facility, he drove it

a few miles before he noticed the Vehicle was smoking.

       7.      Plaintiff exited the Vehicle as it caught fire.

       8.      Plaintiff is aware of no conditions that could have started the fire other

than the repair work of Defendant.

       9.      The fire was not the type of loss that ordinarily occurs in the absence of

negligence.

       10.     The Vehicle was under the control of Defendant when the repair work was

performed.

       11.     Defendant has or had superior knowledge about the cause of the fire.

       12.     Defendant had a duty to perform repairs on the Vehicle in a manner that

would not result in the Vehicle catching fire.

       13.     Defendant breached that duty, and Defendant’s actions were negligent,

including negligence via res ipsa loquitor and/or negligence per se.




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       14.     As a direct and proximate result of Defendant’s actions, Plaintiff was

injured, in that he was subjected to the toxic smoke inhalation, fumes and the trauma of

being inside a burning vehicle.

       WHEREFORE, for Count I of his Petition, Plaintiff prays for judgment against

Defendant, in an amount in excess of $25,000.00, for prejudgment interest as provided by

law, for his costs incurred herein, and for such other and further relief as the Court may

deem just and proper in the circumstances.

                                        COUNT II

       15.     Plaintiff incorporates by reference each of the above allegations in

paragraphs one through fourteen as if fully set forth herein.

       16.     Defendant’s repair work on the Vehicle was not done in a workmanlike

manner.

       17.     Defendant’s repair work constituted a breach of implied warranty of

workmanlike performance of automobile maintenance.

       18.     As a direct and proximate result of Defendant’s actions, Plaintiff was

injured, in that he was subjected to the toxic smoke inhalation, fumes and the trauma of

being inside a burning vehicle.

       WHEREFORE, for Count II of his Petition, Plaintiff prays for judgment against

Defendant, in an amount in excess of $25,000.00, for prejudgment interest as provided by

law, for his costs incurred herein, and for such other and further relief as the Court may

deem just and proper in the circumstances.




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                               TUETH, KEENEY, COOPER,
                               MOHAN & JACKSTADT, P.C.


                               By: /s/ John M. Reynolds
                                  John M. Reynolds, #46931
                                  34 N. Meramec, Suite 600
                                  St. Louis, Missouri 63105
                                  (314) 880- 3600
                                  (314) 880- 3601 Facsimile

                               Attorneys for Plaintiff




                                      4
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             IN THE 22ND JUDICIAL CIRCUIT, CITY OF ST LOUIS, MISSOURI

Judge or Division:                                              Case Number: 2022-CC00848
REX M BURLISON
Plaintiff/Petitioner:                                           Plaintiff’s/Petitioner’s Attorney/Address
KEVIE HENDRIX                                                   JOHN MATTHEW REYNOLDS
                                                                34 NORTH MERAMAC SUITE 600
                                                          vs.   ST LOUIS, MO 63105
Defendant/Respondent:                                           Court Address:
LANTON AUTOMOTIVE LLC                                           CIVIL COURTS BUILDING
Nature of Suit:                                                 10 N TUCKER BLVD
CC Other Miscellaneous Actions                                  SAINT LOUIS, MO 63101                                        (Date File Stamp)

                                                      Summons in Civil Case
  The State of Missouri to: LANTON AUTOMOTIVE LLC
                            Alias:
 LANCE KRUG
 PERSON IN CHARGE OF OFFICE
 MIDAS AUTO SERVICE EXPERTS
 720 SOUTH 4TH ST
 SAINT LOUIS, MO 63107
      COURT SEAL OF         You         are summoned to appear before this court and to file your pleading to the petition, a
                                   copy of which is attached, and to serve a copy of your pleading upon the attorney for
                                   plaintiff/petitioner at the above address all within 30 days after receiving this summons,
                                   exclusive of the day of service. If you fail to file your pleading, judgment by default may
                                   be taken against you for the relief demanded in the petition.

      CITY OF ST LOUIS                  July 29, 2020
                                     ________________________                      ______________________________________________________
                                             Date                                                        Clerk
                                   Further Information:
                                                           Sheriff’s or Server’s Return
     Note to serving officer: Summons should be returned to the court within 30 days after the date of issue.
     I certify that I have served the above summons by: (check one)
         delivering a copy of the summons and a copy of the petition to the defendant/respondent.
         leaving a copy of the summons and a copy of the petition at the dwelling place or usual abode of the defendant/respondent with
           _________________________________________________, a person of the defendant’s/respondent’s family over the age of
           15 years who permanently resides with the defendant/respondent.
         (for service on a corporation) delivering a copy of the summons and a copy of the complaint to:
         _____________________________________________ (name) ____________________________________________ (title).
         other: ______________________________________________________________________________________________.

     Served at _______________________________________________________________________________________ (address)
     in _____________________________ (County/City of St. Louis), MO, on _____________________ (date) at ___________ (time).

     _______________________________________________                             _________________________________________________
                    Printed Name of Sheriff or Server                                              Signature of Sheriff or Server
                                Must be sworn before a notary public if not served by an authorized officer:
                                 Subscribed and sworn to before me on _______________________________ (date).
           (Seal)
                                 My commission expires: __________________                   ________________________________________
                                                                       Date                                     Notary Public
  Sheriff’s Fees, if applicable
  Summons                       $
  Non Est                       $
  Sheriff’s Deputy Salary
  Supplemental Surcharge        $   10.00
  Mileage                       $                  (______ miles @ $.______ per mile)
  Total                         $
  A copy of the summons and a copy of the petition must be served on each defendant/respondent. For methods of service on all
  classes of suits, see Supreme Court Rule 54.



OSCA (06-18) SM30 (SMCC) For Court Use Only: Document Id # 20-SMCC-5297             1 of 1             Civil Procedure Form No. 1; Rules 54.01 – 54.05,
                                                                                               54.13, and 54.20; 506.120 – 506.140, and 506.150 RSMo
